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lN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE

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1351 15 13 '~

1;'

ELECTRIC INSURANCE CoMPANY ‘ 1

v. NO. l'.,' //"Cl/'Q/\;@ /
agc/l OWM

 

DAVID A. MICHEL, AND
CHECK INTO CASH, INC.

COMPLAINT FOR DECLARATORY JUDGMENT

COMES NOW Electric Insurance Company (hereinafter referred to as “Electric”),
Plaintiff in the above-styled action, for its Cornplaint for Declaratory Judgrnent against David A.
Michel (herein after “Defendant Michel) and Check Into Cash, Inc. (herein after “Check into

Cash”) states as follows:

PARTIES. JURISDICTION AND VENUE

This is an action for Declaratory Judgrnent, brought pursuant to Rule 57 of the Federal
Rules of Civil Procedure and 28 U.S.C. §2201, 2002, to declare the rights and other legal
obligations surrounding questions of actual controversy Which presently exist between Plaintiff

Electric and Defendant Michel.

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At all times relevant hereto, Electric is a corporation organized and existing under the
laws of the State of Massachusetts, with its principal place of business in the State of

Massachusetts.

Upon information and belief, Defendant Michel is a resident and citizen of the State of

Tennessee.

3.

Upon information and belief, Check into Cash, lnc is a corporation with its principle

place of business in Cleveland, Tennessee.

This Court has original jurisdiction over this action under the provisions of 28 U.S.C.
§ 1332, because it is a civil action in which the amount in controversy exceeds the sum of the
SEVENTY-FIVE THOUSAND DOLLARS ($75,000.00), exclusive of interest and costs, and is

between citizens of different states.

A substantial amount part of the events and omissions giving rise to the claim arose in

this jurisdiction and the Defendant Michel is subject to personal jurisdiction in this district.

Venue in this action is proper pursuant to 28 U.S.C. § l39l.

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THE ELECTRIC INSURANCE POLICY AND LIABILITY COVERAGES

Electric issued a Homeowners Policy Number 629649lHl, (hereinafter referred to as the
“Policy”) which includes a Homeowners Plus Endorsement, to Defendant Michel, with effective
terms of coverage from August 8, 2010 until August 8, 2011, subject to the terms, conditions and

exclusions contained in the Policy. (A certified copy of the Policy is attached hereto as Exhibit

GGAJ?).

The policy maintains limits of liability of $500,000.00 for Personal Liability (Bodily

lnjury & property Damage) Each Occurrence. (Ex. A).

8.

Homeowner Policy 629649lHl contains the following relevant provisions.
AGREEMENT

We will provide the insurance described in this policy in return for the premium and
compliance with all applicable provisions of this policy.

DEFINITIONS

2. “Bodily injury" means bodily harm, sickness or disease, including required care,
loss of services and death that results.

3. "Business" means:

a. A trade, profession or occupation engaged in on a full-time, part-time or
occaslonal basls; or

b. Any activity engaged in for money or other compensation, except the following:

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(1) One or more activities, not described in (2? through (4) below, for which no
"insured" receives more than $2,000 in tota compensation for the 12 months
before the beginning of the policy period;

(2) Volunteer activities for which no _m_oney is received other than payment for
expenses incurred to perform the activity;

(3) Providing horne da care services for which no compensation is received, other
than the mutual exc ange of such services; or

(4) The rendering of horne day care services to a relative of an "insured".

5. "lnsured" means:

a. You and residents of your household who are:

(1) Your relatives; or

(2) Otjher persons under the age of 21 and in the care of any person named
a ove;

8. "Occurrence" means an accident, includin _continuo_us or repeated ex osure_to
substantially the same general harmful con .itions, which results, during t e policy

period, in:
a. "Bodily injury"; or
b. "Property damage".

9. "Property damage" means physical injury to, destruction of, or loss of use of
tangible property.

SECTION II - LIABILITY COVERAGES
A. Coverage E - Personal Liability
If a claim is made or a suit is brought against an "insured" for damages because of
"bodily injury" or "proljl)erty damage" caused by an "occurrence" to which this
l .

coverage app es, we wi .

1. Pa up to our limit of liability for the damages for which an "insur_ed" is legall
lia le. Damages include prejudgment interest awarded against an "insured"; an

2. Provide a defense at our expense by counsel of our choice, even if the suit is
groundless, false or fraudulent We may investigate and settle any claim or suit
that we decide is appropriate

SECTION II - EXCLUSIONS

E. Coverage E - Personal Liability And Coverage F - Medical Payments To Others

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Coverages E and F do not apply to the following:

1. Expected Or Intended lnjury

"Bodily lnjur(y" or "property damage" which is expected or intended by one or
more "insure s";

SECTION II - LIABILITY COVERAGE (Homeowners Plus Endorsement G10196)
Personal lnjury

Under Coverage E - personal liability, the definition of bodily injury is amended to
include personal injury.

“Personal injury” means injury arising out of one or more of the following offenses.
(1) false arrest, detention or imprisonment, or malicious prosecution;
(2) libel, slander or defamation of character; or

(3) invasion of privacy, wrongful eviction or wrongful entry.

SECTION ll - Exclusions do not apply to personal injury. Personal lnjury lnsurance does
not apply to:

(2) injury caused by a violation of a penal law or ordinance committed by or with
the knowledge or consent of an insured;

(4) injury arising out of the business pursuits of an insured;

UNDERLYING ACTION

On or about July 30, 201 1, Check lnto Cash, Inc. filed a lawsuit against David A. Michel
in the Chancery Court for Bradley County, Tennessee, bearing Civil Action No. 2011-CV-157
(hereinafter referred to as the “Underlying Suit”). (A true and accurate copy of the Complaint,

with attached Exhibits, in the Underlying Suit is attached hereto as Exhibit “B”).

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10.

The Complaint in the Underlying Suit alleges that Check into Cash is a general short-
term consumer lending business which includes payday advances, payday loans, checking

cashing, money orders, title loans and the like. (Ex. B.)
1 l.

On December 29, 2006, the Defendant became employed with the Plaintiff and signed an
Employment, Confidentiality, and Non-Competition Agreement (“Employment Agreement”)

with the Plaintiff. (Ex. B.)

According to the Complaint, the Employment Agreement provides that David Michel:
“(iii) interfere with, disrupt, or attempt to disrupt relationship, contractual or otherwise, between

the company and its employees, contractors, and customers;” (Ex. B.)

12.

On or about April 19, 2011, the Plaintiff Check into Cash terminated the Defendant

Michel for gross misconduct and mismanagement (Ex. B.)
1 3.

Check into Cash asserts that Defendant Michel has embarked on a course of conduct
designed and intended to interfere with and disrupt the Plaintiff s business in violation of

common law and his contractual duties with the Plaintiff. (Ex. B.)

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14.

Further, the Complaint asserts that Defendant Michel published to third persons
malicious, slanderous, false, scandalous, and defamatory words as related to Check into Cash, as
well as employees of Check into Cash. “These defamatory words include, but are not limited to,
statements claiming that Check into Cash and/or its employees are corrupt, bottom-feeders, seed,

racist, assholes, perverts, suffer from psychiatric disorders and are bi-polar.” (Ex. B.)
15.

The Complaint also asserts that Defendant Michel invaded the privacy of the Plaintiff
Check into Cash by publishing false and defamatory states as related to it on the internet while at
the same time falsely impersonating and representing to be officers and employees of the
Plaintiff Check into Cash, including, but not limited to, Steve “Doughball” Hixon and Steve

“Slag” Scoggins. (Ex. B.)

16.

Finally, the complaint alleges that Defendant Michel impersonated and falsely
represented to be communicating to the public on behalf of one of the Plaintiff Check into Cash’s
affiliates known as the Bald Headed Bistro. Defendant Michel also falsely impersonated and
represented himself to be an employee of Check into Cash named Randy Jarrett, while at the
same time using the racist identity of “The Little Chocolate Man.” Plaintiff Check into Cash

asserts that these intrusions by the Defendant go beyond the limits of decency. (Ex. B.)

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17.

Based on the foregoing claims, Check into Cash as alleged the following causes of action

in the underlying matter,

a. Breach of Contract.

b. Breach of Duty of Loyalty

C. Defamation/Libel

“l7. The Defendant’s false and defamatory statements have been intended to

falsely attack the reputation of the Plaintiff and its employees, expose the Plaintiff to
public hatred, contempt, and ridicule, and deprive the Plaintiff of the benefit of public
confidence and the Plaintiff has been thusly damaged and continues to be damages.”

(Ex. B. pg. 6)

Cl. Invasion of Privacy/False Light

“19. The Defendant has maliciously invaded the privacy of the Plaintiff and its
employees and affiliate companies by publicly casting the Plaintiff, its employees and
affiliate companies in a false light. The Defendant has further maliciously
misappropriated the name and likeness of the Plaintiff, its employees, officers and
affiliate companies while publicly casting the aforesaid in a false light. (Ex. B. pg. 7)

20. As the result of the Defendant’s actions, the Plaintiff has suffered public ridicule and
humiliation and the Plaintiff has been thusly damaged and continues to be damaged.”

(Ex. B. pg. 7)

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e. False lmpersonation

“22. The Defendant has falsely represented the identity of the Plaintiff, its employees,
officers and affiliate companies with the intent to injure the aforesaid and the Plaintiff has

been thusly damaged and continues to be damaged.” (Ex. B. pg. 7)
l 8.

Plaintiff Check into Cash seeks punitive damages for Defendant David Michel’s

intentional, reckless, malicious, and/or fraudulent actions as set forth in the Complaint. (Ex. B.

pa 7)

19.

Plaintiff Check into Cash seeks a restraining order, enjoining and prohibiting the
Defendant from publishing false and slanderous words as related to the Plaintiff, it employees,
officers and/or subsidiaries and affiliate companies; (3) retraining, enjoining, and prohibiting the
Defendant from publishing false and defamatory statements on the internet as related to the
Plaintiff, it employees, officers and/or subsidiaries and affiliate companies, while falsely

impersonating and representing to be officers and employees of the Plaintiff,

20.

Under this strict reservation of rights, Electric is currently providing Defendant David
Michel with a defense in the Underlying Suit. ln providing this defense, Electric has reserved its
rights to later withdraw its defense and/or disclaim coverage and indemnification for all or part

of any judgment which may be obtained against Defendant David Michel in the Underlying Suit.

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21.

Under the strict reservation of rights, Electric has also specifically reserved its rights to

seek any and all costs, including attorney fees, associated with defending the underlying suit.

DECLARATORY JUDGMENT

22.

Electric asserts that the Policy at issue does not provide, and expressly excludes,
coverage for the facts and allegations upon which the Underlying Suit against Defendant Michel
is based, and therefore, Electric has no duty to defend or indemnify Defendant Michel for the

claims asserted against him in the Underlying Suit.
23.

Specifically, the alleged conduct 0f Defendant Michel arose out of conduct which may
amount to an act that was conducted with the knowledge or consent of the insured that

constitutes a “violation of a penal law or ordinance.”
24.

Alternatively, the alleged conduct of Defendant may amount to an “injury arising out of
the business pursuits of an insured.” Therefore, the conduct is specifically excluded under the

policy.
25.

Electric asserts that a genuine dispute exists regarding the coverage issues mentioned

above and that declaratory judgment is necessary to clarify these uncertain issues.

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26.

lf Electric’s contentions are correct, then Electric would be under no duty to defend
Defendant Michel with respect to the Underlying Suit, and Electric would be under no obligation

to pay any judgment in connection with the above-described acts. l-lowever, should Electric

withdraw its defense in the underlying lawsuit without a declaration from this Court, it could risk

a claim for breach of contract or bad faith.
27.

Therefore, Electric is placed in jeopardy by the continued expense of the defense of
Defendant Michel in the Underlying Suit until Electric receives the declaration of rights and

duties it seeks.

Wherefore, Plaintiff Electric respectfully requests:

A. For Declaratory Judgment declaring the rights and liabilities of the parties to the

insurance contract which is attached hereto;

B. For Declaratory Judgment that Plaintiff has no duty to defend Defendant David

Michel in the Underlying Suit;

C. For Declaratory Judgment that Plaintiff Electric has no duty to indemnify

Defendant Michel in the Underlying Suit;

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D. For Declaratory Judgment that Electric is entitled to recover all costs, including
attorney fees, associated with providing a defense for Michel in the underlying

action.
D. For costs in this action;

E. For such other and further relief as this Honorable Court may deem proper under

the circumstances;

F. For process and summons issued to each of the Defendants herein and that Service

on the Defendants be had as required by law.

rhis [‘/d' day Of september, 201 1.

Respectfully submitted,
BOYLE BRASHER LLC

    

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ATTORNEYS FOR DEFENDANT

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